                  Case 2:19-mj-00982-DUTY Document 2 Filed 03/12/19 Page 1 of 1 Page ID #:2




                                             UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA

                                                                   C~.SE \UtiII~ER:
 UNIZ~ED STATES OF AMERICA
                                                       PL:~I~TIF
                      t'.

  L~.~~~ ~a~K~                                                              REPORT COMMENCING CRIMINAL
                                                                                           ACTION
 Ls~[s=                                            DEFE~D~~T


 TO: CLERK'S OFFICE, U.S. DISTRICI~ COURT
                                                                                                          ~+ ~'
 All areas must he completed. Any area not applicable or unknown should indicate "I~1/~".                ="' `-~'
                                                                                                         ~:~ ~
                                                                                                                               "~,
                                                                                                        r~
                                                                                                        '  ~            ~1
  1 ~ Uate and time of arrest:       ~~ = ~~                3~~ Z Z ~ ~~              ~ ANI ❑ P~~~f     ~~ F'°'~
                                                                                                        ~~
                                                                                                         -J Ya
                                                                                                           `-
                                                                                                                               ~'
 2. The abo~~e named defendant is currently hospitalized and cannot be transported to court fo't- an-~gr~e~r                    C
     any other preliminary- proceeding:       ~ ~'es      ~No                                            ~,~`N^ ~p
                                                                                                           7~, ..
                                                                                                             ~ `,        ~..
 3. Defendant is in U.S. ~~'Iarshals Ser~~ice lock-up (in this court building):       ~~'es    U ~o':        -*^         ~
                                                                                                                   ~J




 ~. Charges under ~chich defendant his been booked:



 5. Otteiise charged is a:         Felony-      ❑Minor Offense            ❑Petty Offense      ❑Other Misdemeanor

 6. Interpreter Required:        ~~ro    ❑ Y"es        Language:

 i~ fear of Birth:          i q g2
 '. Defendant has retained counsel:           ~ No
     ❑ Yes        Name:                                                     Phone Number:


 9~ Name of Pretrial Services Officer notified: ~ ~~~ ~~,y~ ~ 1 ~f'

10. Remarks (if any):


1 1. Name: ~Jl~ ~-P~ ~~JSot                                  (please print)

12. Office Phone Number: ~ r tJ ^— ~$f~"R~~                                     13. Agency: `~
                                                                                             j

14. Signature:                                                                  17~ Date:~Zl~1
                  v


CR-6-~ (OS/ LS)                               REPORT CO~I~~IENCING CRII~iINAL ACTION
